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 8                               UNITED STATES DISTRICT COURT

 9                             EASTERN DISTRICT OF CALIFORNIA

10    RICHARD DAVID CLASSICK, JR.                Case No.: 2:18-cv-02344-JAM-AC
      Individually and on Behalf of All Others
11    Similarly Situated,                        THIRD AMENDED CLASS ACTION
12                                               COMPLAINT FOR:
             Plaintiff,
13    v.                             (1) NEGLIGENT MISREPRESENTATION;
                                     (2) VIOLATIONS OF THE CALIFORNIA
14    SCHELL & KAMPETER, INC. d/b/a  CONSUMER LEGAL REMEDIES ACT;
      DIAMOND PET FOODS, and DIAMOND (3) VIOLATIONS OF THE CALIFORNIA
15    PET FOODS INC.,                FALSE ADVERTISING LAW;
16                                   (4) VIOLATIONS OF THE CALIFORNIA
            Defendants.              UNFAIR COMPETITION LAW; AND
17                                   (5) BREACH OF EXPRESS WARRANTY

18                                               DEMAND FOR JURY TRIAL
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                          THIRD AMENDED CLASS ACTION COMPLAINT
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 1          1.      Plaintiff Richard David Classick, Jr. ("Plaintiff") , individually and on behalf of

 2 all others similarly situated, by and through his undersigned attorneys, as and for this Class

 3 Action Complaint against defendants Schell & Kampeter, Inc. d/b/a Diamond Pet Foods

 4 and Diamond Pet Foods Inc. (collectively "Defendants"), alleges the following based upon

 5 personal knowledge and his own actions, and, as to all other matters, respectfully alleges, upon

 6 information and belief, as follows (Plaintiff believes that substantial evidentiary support will

 7 exist for the allegations set forth herein after a reasonable opportunity for discovery).

 8                                    NATURE OF THE ACTION

 9          2.      Aware of the health risks and environmental damage caused by processed and

10 chemical-laden foods, consumers increasingly demand for themselves and their pets foods that

11 possess high quality ingredients and are free of toxins, contaminants, and chemicals.

12          3.      Defendants know that certain consumers seek out and wish to purchase premium

13 pet foods that possess high quality ingredients and do not contain chemicals, toxins, or

14 contaminants, and that these consumers will pay more for pet foods that they believe possess

15 these qualities than for pet foods that they do not believe possess these qualities.

16          4.      As such, Defendants' promises, warranties, pricing, statements, claims,

17 packaging, labeling, marketing, and advertising (hereinafter collectively referred to as

18 "Marketing" or "Claims") center on representations and pictures that are intended to, and do,

19 convey to consumers that their pet food (the "Products"), including their Contaminated Dog

20 Foods,1 possess certain qualities and characteristics that justify a premium price.

21          5.      However, Defendants' Marketing is deceptive, misleading, unfair, and/or false

22 because, among other things, the Contaminated Dog Foods include undisclosed Heavy Metals,2

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24   1
     The Contaminated Dog Foods collectively refer to: Taste of the Wild® Grain Free High Prairie
   Canine Formula Roasted Bison and Roasted Venison Dry Dog Food; Taste of the Wild® Grain
25
   Free Pacific Stream Canine Formula Smoked Salmon Dry Dog Food; Taste of the Wild® Prairie
26 Puppy Formula Grain-Free; Taste of the Wild® Southwest Canyon with Wild Boar and Taste of
   the Wild® Southwest Canyon with Beef in Gravy.
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   2
     Arsenic, lead, mercury, and cadmium are defined collectively herein as "Heavy Metals."
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 1 pesticides, plasticizers, acrylamide, and/or bisphenol A ("BPA") or other undesirable toxins,

 2 chemicals, or contaminants.

 3         6.      Defendants' Contaminated Dog Foods do not have a disclaimer regarding the

 4 presence of Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA or other undesirable

 5 toxins, chemicals, or contaminants that these toxins can accumulate over time in the dog's body

 6 to the point where poisoning, injury, and/or disease can occur.

 7         7.      Consumers lack the scientific knowledge necessary to determine whether the

 8 Products do in fact contain Heavy Metals, pesticides, plasticizers, acrylamide, BPA or other

 9 undesirable toxins, chemicals, or contaminants and to know or to ascertain the true ingredients

10 and quality of the Products.

11         8.      No reasonable consumer seeing Defendants' Marketing would expect that the

12 Products contain Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA other

13 undesirable toxins, chemicals, or contaminants.

14         9.      Reasonable consumers must and do rely on Defendants to report honestly what

15 the Products contain.

16         10.     Further, reasonable consumers, like Plaintiff, would consider the mere inclusion

17 of Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA in the Contaminated Dog

18 Foods a material fact when considering what pet food to purchase.

19         11.     Defendants knew or should have been aware that a consumer would be feeding

20 the Contaminated Dog Foods to his or her dog multiple times each day, making it the main, if not

21 only, source of food.      This leads to repeated exposure of the Heavy Metals, pesticides,

22 plasticizers, acrylamide, and/or BPA to the dog.

23         12.     Defendants intended for consumers to rely on their Marketing, and reasonable

24 consumers did in fact so rely.

25         13.     Consequently, Defendants continue to wrongfully induce consumers to purchase

26 their Contaminated Dog Foods that are not as advertised.

27         14.     Defendants' wrongful Marketing, which includes misleading, deceptive, unfair,

28 and false Marketing and omissions, allowed it to capitalize on, and reap enormous profits from,
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 1 consumers who paid the purchase price or a price premium for the Products that were not sold as

 2 advertised.

 3          15.      Plaintiff brings this proposed consumer class action individually and on behalf of

 4 all other members of the Class (as defined herein), who, from the applicable limitations period

 5 up to and including the present, purchased for use and not resale any of Defendants'

 6 Contaminated Dog Foods.

 7                                    JURISDICTION AND VENUE

 8          16.      This Court has original jurisdiction over all causes of action asserted herein under

 9 the Class Action Fairness Act, 28 U.S.C. §1332(d)(2), because the matter in controversy exceeds

10 the sum or value of $5,000,000 exclusive of interest and costs and more than two-thirds of the

11 Class reside in states other than the states in which Defendants are citizens and in which this case

12 is filed, and therefore any exemptions to jurisdiction under 28 U.S.C. §1332(d) do not apply.

13          17.      Venue is proper in this Court pursuant to 28 U.S.C. §1391, because Plaintiff

14 suffered injury as a result of Defendants' acts in this district, many of the acts and transactions

15 giving rise to this action occurred in this district, and Defendants conduct substantial business in

16 this district by manufacturing the Contaminated Dog Foods here. Defendants have intentionally

17 availed themselves of the laws and markets of this district, and Defendants are subject to

18 personal jurisdiction in this district.

19                                            THE PARTIES

20          18.     Plaintiff is, and at all times relevant hereto has been, a citizen of the state of

21 California. Plaintiff purchased the Contaminated Dog Food line of Taste of the Wild® Grain

22 Free High Prairie Canine Formula Roasted Bison and Roasted Venison Dry Dog Food primarily

23 from Amazon.com between approximately 2017 and 2018 for his three-and-half-year-old Blue

24 Nose American Pitbull, Otis. He was on an automatic 30-day subscription for the 33lb bag and

25 received his last shipment on August 1, 2018. Plaintiff paid approximately $48.99 per bag. Prior

26 to purchasing the Contaminated Dog Foods, Plaintiff saw the nutritional claims and labels on the

27 packaging and on the Amazon.com website, which he relied on in deciding to purchase the

28 Contaminated Dog Foods. Plaintiff believed he was feeding Otis a premium dog food that was
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 1 healthy and nutritious. During the time Plaintiff purchased and fed Otis the Contaminated Dog

 2 Foods, due to the false and misleading claims, warranties, representations, advertisements, and

 3 other marketing by Defendants, Plaintiff was unaware that the Contaminated Dog Foods

 4 contained any level of Heavy Metals, BPA, pesticides, plasticizers, or acrylamide, and would not

 5 have purchased the food if that was fully disclosed.

 6          19.     As a result of Defendants' negligent, reckless, and/or knowingly deceptive

 7 conduct as alleged herein, Plaintiff was injured when he paid the purchase price and/or a price

 8 premium for the Contaminated Dog Foods that did not deliver what Defendants promised.

 9 Plaintiff paid the above sum in reliance that the labeling of the Contaminated Dog Foods was

10 accurate, that there were no material omissions, and that it was healthy, clean, and safe for dogs

11 to ingest, as well as natural and pure. Plaintiff would not have purchased the Contaminated Dog

12 Foods had he known it contained Heavy Metals, BPA, pesticides, plasticizers, or acrylamide.

13 Plaintiff would purchase the Contaminated Dog Foods again if Defendants (i) eliminated Heavy

14 Metals, BPA, pesticides, plasticizers, acrylamide, and any other ingredient that does not conform

15 to the label from the Contaminated Dog Foods and (ii) undertook corrective changes to the

16 packaging to affirm same. Damages can be calculated through expert testimony at trial.

17          20.     Defendant Schell & Kampeter, Inc. d/b/a Diamond Pet Foods is incorporated in

18 Missouri with its headquarters located at 103 North Olive Street, Meta, Missouri.

19          21.     Defendant Diamond Pet Foods Inc. is a wholly owned subsidiary of Defendant

20 Schell & Kampeter, Inc. d/b/a Diamond Pet Foods and is also headquartered at 103 North Olive

21 Street, Meta, Missouri.

22          22.     Defendants produce the Contaminated Dog Foods at four facilities across the

23 United States: Meta, Missouri; Gaston, South Carolina; Lathrop, California; and Ripon,

24 California. California is the only state where Defendants operate and own two manufacturing

25 facilities. Defendants employ over one hundred employees in the state of California. These

26 California plants produce significant amounts of pet food. The Ripon facility sits on 150 acres

27 that includes a farm, mill tower, and pet food ingredient storage, and Defendants are currently

28 seeking approval for expansion of this manufacturing facility.
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 1          23.     Defendants formulate, develop, manufacture, label, distribute, market, advertise,

 2 and sell the Contaminated Dog Foods under the Taste of the Wild® brand name throughout the

 3 United States. The advertising, labeling, and packaging for the Contaminated Dog Foods, relied

 4 upon by Plaintiff, was prepared, reviewed, and/or approved by Defendants and their agents, and

 5 was disseminated by Defendants and their agents through marketing, advertising, packaging, and

 6 labeling that contained the misrepresentations alleged herein.       The marketing, advertising,

 7 packaging, and labeling for the Contaminated Dog Foods was designed to encourage consumers

 8 to purchase the Contaminated Dog Foods and reasonably misled the reasonable consumer, i.e.,

 9 Plaintiff and the Class, into purchasing the Contaminated Dog Foods.            Defendants own,

10 manufacture, and distribute the Contaminated Dog Foods, and created, allowed, negligently

11 oversaw, and/or authorized the unlawful, fraudulent, unfair, misleading, and/or deceptive

12 labeling and advertising for the Contaminated Dog Foods.

13          24.     The Contaminated Dog Foods include the food Plaintiff purchased (Taste of the

14 Wild® Grain Free High Prairie Canine Formula Roasted Bison and Roasted Venison Dry Dog

15 Food), as well as other foods that contain (or have the risk of containing) Heavy Metals, BPA,

16 pesticides, plasticizers, and/or acrylamide and also have similar or identical misrepresentations

17 on their labels and advertisements on Amazon.com as those foods Plaintiff purchased3:

18                 (a)    Taste of the Wild® Grain Free High Prairie Canine Formula Roasted

19 Bison and Roasted Venison Dry Dog Food:

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     Discovery may reveal additional Products that also contain unsafe levels of Heavy Metals,
27 pesticides, plasticizers, acrylamide, or BPA, and Plaintiff reserves his right to include any such
   Products in this action.
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                 (b)   Taste of the Wild® Prairie Puppy Formula Grain-Free:
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 2               (c)   Taste of the Wild® Grain Free Pacific Stream Canine Formula Smoked

 3 Salmon Dry Dog Food:

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15               (d)   Taste of the Wild® Grain Free Southwest Canyon Canine Recipe with

16 Wild Boar Dry Dog Food:

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 2                  (e)     Taste of the Wild® Grain Free Southwest Canyon Canine Formula with

 3 Beef in Gravy Wet Dog Food:

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                                       FACTUAL ALLEGATIONS
14
            I.      Defendants' Marketing of Their Contaminated Dog Foods
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            25.      Defendants package, label, market, advertise, formulate, manufacture, distribute,
16
     and sell their Contaminated Dog Foods throughout the United States, including California.
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            26.      As stated by Defendants, they are "one of the fastest growing pet food
18
     manufacturers in the country." The Contaminated Dog Foods are available at numerous retail
19
     and online outlets and are widely advertised.
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            27.      Defendants' Marketing represents that that their "premium" dog food is made of
21
     "the highest quality ingredients and products" for "nutrition-conscious pet owners."
22
            28.      Defendants' business model is premised upon the purported belief that "every pet,
23
     from purebred show animal to shelter puppy or kitten, is worthy of the best nutrition."
24
            29.      Defendants state that they "strive to provide honest and accurate information
25
     about the ingredients used in Taste of the Wild formulas."
26
            30.      Defendants also repeatedly tout that the Contaminated Dog Foods are natural in
27
     that they are as "nature intended."
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 1          31.     As shown below, Defendants explain on their website (all while depicting

 2 animals in the wild), the brand name of the Contaminated Dog Foods (Taste of the Wild®) is

 3 meant to reflect and imply that the Products are natural, akin to what "nature intended" pets to

 4 eat in the "Wild," and are formulated "based on your pet's ancestral diet":

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12          32.     Moreover, the Contaminated Dog Foods' packaging depicts the same

13 misrepresentations, displays images of wild animals in natural settings, and emphasizes the

14 Products' makeup as being akin to that found in nature and "the Wild":

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10          33.    Additionally, the packaging describes the ingredients in the Contaminated Dog
11 Foods as "processed under strict human-grade standards to ensure purity," providing "optimal

12 health and vitality," supporting "optimal cellular health" and "overall good health," and helpful

13 in maintaining "the sleek condition of good health":

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             34.     Defendants' packaging and advertising also touts its food as "natural" and as
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      providing "the best nutrition available today":
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 2          35.     Taste of the Wild's motto is "Taste of the Wild Pet Food: Based on your Pet's

 3 Ancestral Diet":

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 8          36.     The foregoing Marketing reveals the great lengths Defendants have undertaken to
 9 portray their Contaminated Dog Foods as possessing certain qualities and characteristics

10 concerning their composition and quality.

11          37.     The packaging and advertising of the Contaminated Dog Foods does not disclose
12 that they contain or are at risk of containing any level of Heavy Metals, BPA, pesticides,

13 plasticizers, acrylamide, or other undesirable toxins, chemicals, or contaminants:

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19          II.    Defendants' Testing of Their Contaminated Dog Foods
20          38.     Defendants' Marketing also prominently emphasizes their rigorous testing of their
21 Products.

22          39.     For example, Defendants state:
23
                   We understand that it matters what you feed your pet, which is why we
24                 work to ensure that all of our formulas are produced to adhere to strict
                   quality and safety standards. As such, we maintain close relationships
25                 with our suppliers to continually test our ingredients, production
                   environment, production process and finished products to ensure quality
26                 and safety. By implementing the latest scientific and technological
27                 advancements, we have developed a comprehensive food safety system
                   that ensures your pet's food is always safe and nutritious.
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 1         40.     Defendants also provide:

 2                Stringent Purification

 3                Processed under strict quality and safety standards, our K9 Strain and

 4                Viables probiotics are guaranteed to be free of harmful pathogens or other

 5                contaminants.

 6         41.     Defendants further assure that food safety is a top priority and that they are

 7 dedicated to quality assurance:

 8                Do you have a food safety program?

 9                Absolutely! Food safety is our top priority, which is why our facilities
                  adhere to stringent quality protocols, have a dedicated quality assurance
10
                  and safety staff and follow "Good Manufacturing Processes" protocols.
11                To learn more about our food safety program, you can visit our website at
                  https://diamondpetcompany.com/how-we-ensure-every-pet-is-getting-the-
12                very-best/nutritional-integrity/.
13                                              * * *
                  At Taste of the Wild, we believe every pet deserves excellent nutrition that
14
                  tastes great. Every ingredient is carefully selected from trusted sources,
15                each recipe is designed by our veterinarians and nutritionists to meet
                  specific nutritional requirements and every product is tested for quality
16                and safety before leaving our facilities.
17         42.     To this end, the Marketing contained on Defendants' website further states that
18 their Products, including Taste of the Wild®, are manufactured and sourced in such a way that

19 would prevent any contamination by Heavy Metals, pesticides, acrylamide, plasticizers, and/or

20 BPA other undesirable toxins, chemicals, or contaminants:

21
                  NUTRITIONAL INTEGRITY
22

23                THE HIGHEST QUALITY INGREDIENTS

24                When we made the conscious decision to only make pet food you'd be
                  proud to feed your own pet, we didn't skimp on quality. That's why we
25                source the finest ingredients and establish solid relationships with our
                  trusted suppliers to ensure we're always getting the very best. All of our
26                formulas are unique, based on your pet's needs and life stage, but here are
                  just a few of the quality ingredients you'll find in our products.
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                     Real chicken, lamb, salmon, turkey, fowl, bison and venison Vegetables
 1                   like carrots, peas, sweet potatoes and spinach Fruits like apples,
 2                   blueberries and cranberries Whole grains such as brown rice, barley and
                     oatmeal Prebiotics and probiotics for healthier digestion.
 3
                     SUPPLIER MANAGEMENT PROGRAM
 4
                     Our ingredients suppliers are approved through a rigorous process
 5                   intended to validate commitments to food safety and ingredient quality,
                     and also to ensure financial viability. Our method is to work with fewer
 6
                     suppliers under longer-term arrangements, rather than engage with a host
 7                   of suppliers participating in a continual bid process. This approach fosters
                     trust, collaboration and continual improvement, and works to encourage
 8                   vendor-partners to make investments in quality control, food safety
                     training and laboratory testing equipment.
 9
                     SCIENTIFIC FORMULATIONS
10

11                   Our pet food formulas are based on the latest animal nutrition research and
                     are carefully designed to meet your pet's specific life stage. No matter
12                   which formula you choose, you can rest assured you're getting the very
                     best nutrition for a long and healthy life.
13

14           III.    Defendants Misled Consumers Through Their Deceptive, Misleading, Unfair,
                     and False Marketing and Omissions
15
             43.     The Defendants' Marketing wrongfully conveys to consumers that Defendants'
16
      Contaminated Dog Foods have certain superior qualities and characteristics that they do not
17
      actually possess.
18
             44.     For instance, although Defendants misleadingly lead consumers to believe their
19
      Contaminated Dog Foods do not contain Heavy Metals, pesticides, plasticizers, acrylamide, or
20
      BPA other undesirable toxins, chemicals, or contaminants through their Marketing and
21
      omissions, Defendants' Products do in fact contain undisclosed Heavy Metals, pesticides,
22
      plasticizers, acrylamide, and/or BPA, which are material to reasonable consumers.
23
             45.     For example, the following foods were tested and found to contain undisclosed
24
      Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA (material to a reasonable
25
      consumer) at the following levels:
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                    arsenic ug




                                                                                           acrylamid




                                                                                                       Phthalate



                                                                                                                   Phthalate
                                                                              pesticides
                                           ug per kg



                                                       ug per kg




                                                                              ug per kg
                                           cadmium



                                                       mercury




                                                                                            e ug per
         Product




                                                                                                        Diethyl
                                                                    lead ug




                                                                                                                    Dioctyl
                                  bpa ug
                      per kg



                                  per kg




                                                                     per kg




                                                                                                        ng/mg



                                                                                                                    ng/mg
                                                                                total
 3




                                                                                               kg
 4
      Taste of     255.40        258.00    54.20       30.90       399.20     38.92        172.90                   288
 5    the Wild
      Grain Free
 6    Pacific
      Stream
 7    Canine
      Formula
      Smoked
 8
      Salmon
      Dry Dog
 9    Food
10    Taste of     155.80        276.00    59.70       16.70       394.50     460.00       86.50        204
      the Wild
11    Grain Free
      High
12    Prairie
      Canine
13    Formula
      Roasted
14    Bison and
      Roasted
15    Venison
      Dry Dog
16    Food

17    Taste of      161                    99.6        < 9.8        476
      the Wild®
18    Prairie
      Puppy
19    Formula
      Grain-Free
20
      Taste of     53. 1                   60.2                    12,200
      the Wild
21
      Southwest
      Canyon
22    With Wild
      Boar
23    Taste of                                                      271
      the Wild
24    Southwest
      Canyon
25    with Beef
      in Gravy
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 1         46.     Defendants' Marketing wrongfully fails to disclose to consumers the presence of

 2 Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA in Defendants' Contaminated

 3 Dog Foods.

 4         47.     Based on Defendants' Marketing, a reasonable consumer would not suspect the

 5 presence of Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA, nor would a

 6 reasonable consumer be able to detect the presence of Heavy Metals, pesticides, plasticizers,

 7 acrylamide, BPA, or any other undesirable toxins, chemicals, or contaminants in the

 8 Contaminated Dog Foods without conducting his or her own scientific tests, or reviewing

 9 scientific testing conducted on the Products.

10         48.     Reasonable consumers must and do rely on Defendants to report honestly what

11 the Products contain.

12         49.     In light of Defendants' Marketing, including their supposed stringent quality

13 controls and assurances, Defendants knew or should have known the Contaminated Dog Foods

14 possessed Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA.

15         50.     Defendants intended for consumers to rely on their representations, and

16 reasonable consumers did in fact so rely.

17         51.     Further, the Association of American Feed Control Officials ("AAFCO")

18 provides guidelines concerning the proper labeling and packaging of pet food. In relevant part,

19 AAFCO provides that all claims made for a product must be truthful and must not be misleading

20 to the consumer.

21         52.     For example, AAFCO states that individual ingredients must not be over-

22 emphasized to the exclusion of other ingredients. AAFCO also provides that a vignette, graphic,

23 or pictorial representation on a pet food or specialty pet food label shall not misrepresent the

24 contents of the package.

25         53.     Yet, Defendants' Contaminated Dog Foods display images of wild animals in

26 natural settings that emphasize the Products' makeup as being akin to that found in nature and

27 "the Wild," and have text and symbols highlighting the protein and vegetables each Product

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                                           - 16 -
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 1 contains. On the other hand, Defendants' Contaminated Dog Foods do not disclose the presence

 2 of Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA.

 3          54.     Thus, the images and Claims utilized by Defendants, in the context of the whole

 4 label or packaging of the Contaminated Dog Foods, is misleading, deceptive, and false.

 5          55.     Defendants had a duty to ensure the Contaminated Dog Foods were as

 6 represented and not deceptively, misleadingly, unfairly, and falsely marketed.

 7          56.     Pursuant to the foregoing, Defendants' Marketing is deceptive, misleading,

 8 unfair, and false to Plaintiff and other consumers, including under the consumer protection laws

 9 of California.

10          57.      Defendants acted negligently, recklessly, unfairly, and/or intentionally with

11 their deceptive, misleading, unfair, and false Marketing and omissions.

12          IV.     The Pet Food Industry, Including Defendants, Knows that the Average
                    Consumer Cares and Considers What He or She Is Feeding Their Pet
13

14          58.     Consumers are becoming increasingly concerned with what they feed their pets.

15          59.     The Pet Food industry has been reporting on the humanization of both pets and

16 pet food for years.

17          60.     A recent survey done by a pet food giant showed that "95 percent [of pet owners]

18 agreed they saw their canine as part of the family." And 73% of them responded they would

19 make sure their "pet gets food before they do."4

20          61.     But this is nothing new, as in 2017, a survey had reported the same results: "In

21 the US, 95% of pet owners consider their pets to be part of the family—up 7 points from 2007,

22 according to a survey by Harris Poll."5

23

24    4
     Kelli Bender, Study Shows Half of Women Would Rather Spend Friday Night with Their Dog
   than Their Partner, People (July 19, 2018), https://people.com/pets/study-women-prefer-dogs-
25
   to-partner/.
26 5
      Report: 95% Say Pets Are Part of the Family, PetfoodIndustry.com (Mar. 9, 2016),
27 https://www.petfoodindustry.com/articles/5695-report---say-pets-are-part-of-the-family.

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 1              62.   Indeed, based on this, it was reported that "there isn't much people won't do for

 2 their pets, and this sentiment has only strengthened over the past few years, especially for pet

 3 food. Pet food accounts for 76% of the pet care category, representing a significant opportunity

 4 for pet companies."6

 5              63.   And, pet owners want "pet food options that address the same health concerns

 6 currently influencing human food production, such as unnatural preservatives and genetically

 7 modified ingredients—and they're serious about these preferences."7

 8              64.   "Treating pets like one of the family continues to be a popular trend among pet

 9 owners; however, today, their purchases are more and more functionally driven as health

10 becomes a top priority."8

11              65.   Thus, consumers are willing to pay a premium for their pet food if their pet food

12 is of superior quality.

13              V.    The Presence (or Risk of Inclusion) of Heavy Metals, Pesticides, Acrylamide,
                      Plasticizers, and/or BPA Is Material to a Reasonable Consumer Based on the
14                    Inherent and Known Risks of Consumption and/or Exposure
15              66.   Whether a pet food contains Heavy Metals, pesticides, plasticizers, acrylamide,

16 or BPA is material to a reasonable consumer when making purchasing decisions.

17              67.   Consumption and/or exposure to Heavy Metals, pesticides, plasticizers,

18 acrylamide, and BPA carry known risks.

19              68.   For instance, based on the risks associated with exposure to higher levels of

20 arsenic, both the U.S. Environmental Protection Agency ("EPA") and U.S. Food and Drug

21 Administration ("FDA") have set limits concerning the allowable limit of arsenic at 10 parts per

22 billion ("ppb") for human consumption in apple juice (regulated by the FDA) and drinking water

23
      6
          Id.
24
   7
     The Humanization of Pet Food, Nielsen.com (Mar. 2016),
25 http://www.nielsen.com/us/en/insights/reports/2016/the-humanization-of-pet-food.html.

26    8
    US Pet Food Market Report Reveals Pet Humanization Trend, Petfoodindustry.com (Sept. 24,
   2017),   https://www.petfoodindustry.com/articles/6694-us-pet-food-market-report-reveals-pet-
27 humanization-trend.

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 1 (regulating by the EPA). Moreover, the FDA is considering limiting the action level for arsenic

 2 in rice cereal for infants to 100 ppb.

 3          69.     Additionally, drinking water with levels greater than 250 ppb is considered

 4 potentially toxic, especially to large animals.

 5          70.     Arsenic poisoning can be caused by acute and/or repeated exposure to the toxin

 6 over a long period of time. Arsenic toxicity can affect the gastrointestinal and cardiovascular

 7 systems, as well as lead to circulatory collapse.

 8          71.     Lead is another carcinogen and toxin known to cause health problems. Exposure

 9 to lead in food can build up over time and has been scientifically demonstrated to lead to the

10 development of chronic poisoning, cancer, developmental disorders, and affect normal cell

11 metabolism as well as cause serious injuries to the central nervous and gastrointestinal systems.

12          72.     Here, one of the Contaminated Dog Foods tested higher for lead than most homes

13 in Flint, Michigan: "In Flint, the amount of lead found in residents' water since the crisis

14 erupted has varied from house to house with many showing no detectable levels of lead. At a few

15 homes, lead levels reached 4,000 ppb to nearly 12,000 ppb."9 Importantly, Jim Taft, executive

16 director of the Association of State Drinking Water Administrators, has stated if water tests at the

17 lead levels in Flint, "people need to stop drinking the water."10

18          73.     Mercury can cause damage to the kidneys and neurological, cardiovascular, and

19 nervous systems in dogs. Exposure to mercury can also interfere with metabolic activity, leading

20 to tissue necrosis and degeneration. Continued exposure to mercury can also injure the inner

21 surfaces of the digestive tract and abdominal cavity.

22          74.     Cadmium is extremely toxic and has toxic biological effects at concentrations

23 smaller than almost any commonly found mineral. Exposure to cadmium has been observed to

24
      9
25   Alison Young, How much lead in water poses an imminent threat?, USA Today (Mar. 16,
   2016, 3:51PM; updated Mar. 17, 2016, 6:20AM),
26 https://www.usatoday.com/story/news/nation/2016/03/16/what-lead-levels-in-water-
   mean/81534336/
27
   10
      Id.
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 1 cause anemia, liver disease, and nerve or brain damage in animals eating or drinking it. The U.S.

 2 Department of Health and Human Services has determined that cadmium and cadmium

 3 compounds are known human carcinogens and the EPA has likewise determined that cadmium is

 4 a probable human carcinogen.

 5               75.   As used herein, the term "pesticides" refers to a class of chemical or organic

 6 substances used to control pests and weeds on cultivated plants. When pesticides are applied to

 7 crops, the residue can remain until it has been harvested for consumption or processing. The

 8 EPA regulates the amount of pesticides allowed in food, and the tolerance varies depending on

 9 the substance at issue. Pesticides have been linked to numerous health problems with animals,

10 such as vomiting, diarrhea, seizures, and death. Moreover, long-term exposure to pesticides has

11 been connected to birth defects, nerve damage, and various cancers.

12               76.   Phthalates, also known as plasticizers, is the common name for phthalate esters, a

13 man-made chemical. Phthalates "can cause measurable toxicity and biochemical changes in the

14 kidneys and liver" and reproductive system.11 Phthalates wreaks havoc on the body at the cellular

15 level by "interfering with the chemical communication between cells during certain critical

16 stages of development."12

17               77.   Acrylamide is a colorless, odorless chemical substance with numerous industrial

18 applications, including treating waste water discharge and the production of paper and other

19 textiles. Acrylamide is found in tobacco smoke and can occur when food is cooked or processed

20 at high temperatures, such as baking, frying, and roasting. The EPA has set limits on the

21 acceptable amount of acrylamide in drinking water.              Furthermore, several organizations,

22 including the Department of Health and Human Services, the International Agency for Research

23

24
      11
25   Susan Weinstein, The Dangers of Vinyl Toys, Whole Dog Journal (Apr. 2008) (updated Aug.
   2, 2017), available at https://www.whole-dog-journal.com/issues/11_4/features/Dog-Toys-
26 Containing-Toxic-Chemicals_16021-1.html.
      12
27         Id.

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 1 on Cancer, and the EPA have concluded that acrylamide is likely to be carcinogenic to humans.

 2 Most importantly, acrylamide is known to be carcinogenic in animals.

 3          78.     Finally, BPA, an industrial chemical that is an endocrine disruptor, has been

 4 linked to various health issues, including reproductive disorders, heart disease, diabetes, cancer,

 5 and neurological problems. The dangers of BPA in human food are recognized by the FDA, as

 6 well as by the state of California. For instance, manufacturers and wholesalers are prohibited

 7 from selling any children's products that contain BPA and any infant formula, baby food, or

 8 toddler food stored in containers with intentionally-added BPA.

 9          79.     Based on the foregoing, reasonable consumers, like Plaintiff, would consider the

10 inclusion of Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA in the Contaminated

11 Dog Foods a material fact when considering what pet food to purchase.

12          80.     Despite the known risks of exposure to Heavy Metals, pesticides, plasticizers,

13 acrylamide, and BPA, Defendants negligently, recklessly, and/or knowingly sold the

14 Contaminated Dog Foods without disclosing they contain Heavy Metals, pesticides, plasticizers,

15 acrylamide, and/or BPA.

16          81.     In fact, Defendants expressly admit knowledge that Heavy Metals are

17 "potentially dangerous chemicals" "that can cause vomiting, a painful abdomen, bloody diarrhea,

18 even seizures and kidney or liver failure if eaten," and that these are substances "toxic to

19 animals."13

20          82.     Therefore, Defendants knew or should have known that the presence of Heavy

21 Metals, pesticides, plasticizers, acrylamide, and/or BPA in their Contaminated Dog Foods was

22 material to consumers of the Products.

23          83.     Additionally, Defendants knew or should have been aware that a consumer

24 would be feeding the Contaminated Dog Foods multiple times each day to his or her dog making

25
      13
     TasteoftheWildPetFood.com (June 30, 2016), https://www.tasteofthewildpetfood.com/pop-
26
   pop-kaboom-managing-pets-fireworks-fear/; (Aug. 4, 2015),
27 https://www.tasteofthewildpetfood.com/what-you-need-to-know-to-get-puppies-through-their-
   first-summer/.
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 1 it the main, if not only, source of food for the dog. This leads to repeated exposure of the Heavy

 2 Metals, pesticides, plasticizers, acrylamide, and/or BPA to the dog.

 3          84.     Defendants have wrongfully and misleadingly advertised and sold the

 4 Contaminated Dog Foods without any label or warning indicating to consumers that the Products

 5 contain Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA, or that these toxins can

 6 over time accumulate in the dog's body to the point where poisoning, injury, and/or disease can

 7 occur.

 8          85.     Defendants' omissions are material, deceptive, misleading, unfair, false, and

 9 reasonably likely to deceive the public.

10          86.     This is true especially in light of Defendants' long-standing Marketing campaign

11 representing the Contaminated Dog Foods as possessing certain qualities pertaining to their

12 composition and quality in order to induce consumers, such as Plaintiff, to purchase the

13 Products.

14          87.     The use of such representations, descriptions, and promises makes Defendants'

15 Marketing campaign deceptive based on the presence of Heavy Metals, pesticides, acrylamide,

16 and/or BPA in the Contaminated Dog Foods.

17          88.     Defendants' above-referenced statements, representations, partial disclosures, and

18 omissions are false, misleading, and crafted to deceive the public as they create an image that the

19 Contaminated Dog Foods are healthy, safe, high quality, undergo rigorous testing, and are free of

20 Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA.

21          89.     Moreover, a reasonable consumer, such as Plaintiff and other members of the

22 Class, would have no reason to not believe Defendants' statements regarding the quality of the

23 Contaminated Dog Foods. Defendants' nondisclosure and/or concealment of the toxins in the

24 Contaminated Dog Foods coupled with the misrepresentations alleged herein that were intended

25 to and do, in fact, cause consumers, like Plaintiff and the members of the Class, to purchase a

26 product they would not have bought if the true quality and ingredients were disclosed or pay a

27 premium for such dog food.

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 1          90.     As a result of Defendants' wrongful Marketing, which includes misleading,

 2 deceptive, unfair, and false statements and omissions, Defendants have generated substantial

 3 sales of the Contaminated Dog Foods.

 4          91.     Defendants' wrongful Marketing, which includes misleading, deceptive, unfair,

 5 and false representations and omissions, allowed it to capitalize on, and reap enormous profits

 6 from, consumers who paid the purchase price or a premium for the Products that were not as

 7 advertised.

 8          92.     This is not surprising given that, for example, natural pet food sales represent

 9 over $5.5 billion in the United States and have consistently risen over the years:

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19                             DEFENDANTS' STATEMENTS
                        AND OMISSIONS VIOLATE CALIFORNIA LAWS
20

21          93.     California law is designed to ensure that a company's claims about its products
22 are truthful and accurate.

23          94.     Defendants violated California law by incorrectly claiming through their
24 Marketing and omissions that the Contaminated Dog Foods possessed superior qualities when

25 they did not, based on the presence of Heavy Metals, pesticide, plasticizers, acrylamide, and/or

26 BPA.

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 1           95.     Defendants' Marketing and advertising campaign has been sufficiently lengthy in

 2 duration, and widespread in dissemination, that it would be unrealistic to require Plaintiff to

 3 plead relying upon each advertised misrepresentation.

 4           96.     Defendants have engaged in this long-term advertising campaign to convince

 5 potential customers that the Contaminated Dog Foods were pure, healthy, safe for consumption,

 6 and did not contain harmful ingredients, such as arsenic and lead. Likewise, Defendants have

 7 engaged in this long-term advertising campaign to convince potential customers that the

 8 Contaminated Dog Foods were natural, pure, and safe despite the presence of BPA or plasticizers

 9 in the food.
                                PLAINTIFF'S RELIANCE WAS
10                       REASONABLE AND FORESEEN BY DEFENDANTS
11
             97.     Defendants engaged in this long-term advertising campaign to convince potential
12
      customers that the Contaminated Dog Foods possessed certain qualities.
13
             98.     Defendants' Marketing and advertising campaign has been sufficiently lengthy in
14
      duration, and widespread in dissemination, that it would be unrealistic to require Plaintiff to
15
      plead relying upon each advertised misrepresentation.
16
             99.     When making purchasing decisions, Plaintiff reasonably relied on Defendants'
17
      misleading, deceptive, unfair, and false Marketing.
18
             100.    A reasonable consumer would consider the Marketing of a product when
19
      deciding whether to purchase.
20
             101.    Plaintiff would not have paid the price premium for, or would not have purchased
21
      at all, Defendants' Contaminated Dog Foods had they been aware of the true nature of
22
      Defendants' Products.
23
               DEFENDANTS' KNOWLEDGE AND NOTICE OF THEIR BREACHES
24                          OF THEIR EXPRESS WARRANTY
25
             102.    Defendants had sufficient notice of their breaches of express warranty.
26
      Defendants have, and had, exclusive knowledge of the physical and chemical make-up of the
27
      Contaminated Dog Foods. Moreover, Defendants were put on notice by the Clean Label Project
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 1 about the inclusion of Heavy Metals, BPA, pesticides, acrylamide, and/or other contaminants in

 2 the Products.

 3             PRIVITY EXISTS WITH PLAINTIFF AND THE PROPOSED CLASS

 4          103.    Defendants knew that consumers such as Plaintiff and the proposed Class would

 5 be the end purchasers of the Contaminated Dog Foods and the target of their Marketing.

 6          104.    Defendants intended their Marketing to be considered by the end purchasers of

 7 the Contaminated Dog Foods, including Plaintiff and the proposed Class.

 8          105.    Defendants directly marketed to Plaintiff and the proposed Class through

 9 statements on Amazon.com, labeling, and packaging.

10                                 CLASS ACTION ALLEGATIONS

11          106.    Plaintiff brings this action individually and on behalf of the following Class

12 pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil Procedure:

13                  All persons who are citizens of the United States who, from May 1,
                    2013 to the present, purchased the Contaminated Dog Foods for
14                  household or business use, and not for resale (the "Class").14
15          107.    Excluded from the Class are the Defendants, any parent companies, subsidiaries,

16 and/or affiliates, officers, directors, legal representatives, employees, coconspirators, all

17 governmental entities, and any judge, justice, or judicial officer presiding over this matter.

18          108.    This action is brought and may be properly maintained as a class action. There is

19 a well-defined community of interests in this litigation and the members of the Class are easily

20 ascertainable.

21          109.    The members in the proposed Class are so numerous that individual joinder of all

22 members is impracticable, and the disposition of the claims of the members of all Class members

23 in a single action will provide substantial benefits to the parties and Court.

24

25
      14
     Defendants have significant contacts with California and discovery has not yet commenced.
26 However, per the Court's instruction in dicta, Plaintiff intends to modify the class definition
   should discovery indicate that a nationwide class is not appropriate. Grossman v. Schell &
27 Kampeter, Inc., No. 2:18-CV-02344-JAM-AC, 2019 WL 1298997, at *3 (E.D. Cal. Mar. 21,
   2019).
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 1          110.    Questions of law and fact common to Plaintiff and the Class include, but are not

 2 limited to, the following:

 3                 (a)    whether Defendants owed a duty of care to Plaintiff and members of the

 4 Class;

 5                 (b)    whether Defendants knew or should have known that the Contaminated

 6 Dog Foods contained Heavy Metals;

 7                 (c)    whether Defendants knew or should have known that the Contaminated

 8 Dog Foods contained BPA;

 9                 (d)    whether Defendants knew or should have known that the Contaminated

10 Dog Foods contained pesticides;

11                 (e)    whether Defendants knew or should have known that the Contaminated

12 Dog Foods contained plasticizers;

13                 (f)    whether Defendants knew or should have known that the Contaminated

14 Dog Foods contained acrylamide;

15                 (g)    whether Defendants wrongfully failed to state that the Contaminated Dog

16 Foods contained Heavy Metals;

17                 (h)    whether Defendants wrongfully failed to state that the Contaminated Dog

18 Foods contained BPA;

19                 (i)    whether Defendants wrongfully failed to state that the Contaminated Dog

20 Foods contained pesticides;

21                 (j)    whether Defendants wrongfully failed to state that the Contaminated Dog

22 Foods contained plasticizers;

23                 (k)    whether Defendants wrongfully failed to state that the Contaminated Dog

24 Foods contained acrylamide;

25                 (l)    whether any of Defendants' Marketing is deceptive, misleading, unfair,

26 and/or false individually or as a whole;

27                 (m)    whether Defendants' Marketing is likely to deceive a reasonable

28 consumer;
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 1                 (n)     whether a reasonable consumer would consider the presence of Heavy

 2 Metals as a material fact in purchasing pet food;

 3                 (o)     whether a reasonable consumer would consider the presence of acrylamide

 4 as a material fact in purchasing pet food;

 5                 (p)     whether a reasonable consumer would consider the presence of pesticides

 6 as a material fact in purchasing pet food;

 7                 (q)     whether a reasonable consumer would consider the presence of

 8 plasticizers as a material fact in purchasing pet food;

 9                 (r)     whether a reasonable consumer would consider the presence of BPA as a

10 material fact in purchasing pet food;

11                 (s)     whether Defendants knew or should have known their Marketing is

12 deceptive, misleading, unfair, and/or false;

13                 (t)     whether Defendants continue to disseminate their Marketing despite their

14 knowledge that their Marketing is deceptive, misleading, unfair, and/or false;

15                 (u)     whether Defendants' wrongful conduct alleged herein was negligent,

16 reckless, and/or intentional;

17                 (v)     whether a representation that a product does not contain Heavy Metals is

18 material to a reasonable consumer;

19                 (w)     whether a representation that a product does not contain acrylamide is

20 material to a reasonable consumer;

21                 (x)     whether a representation that a product does not contain pesticides is

22 material to a reasonable consumer;

23                 (y)     whether a representation that a product does not contain plasticizers is

24 material to a reasonable consumer;

25                 (z)     whether a representations that a product does not contain BPA is material

26 to a reasonable consumer;

27                 (aa)    whether Defendants violated California law;

28                 (bb)    whether Defendants breached their express warranties;
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 1                  (cc)   whether Defendants engaged in unfair trade practices;

 2                  (dd)   whether Defendants engaged in false advertising;

 3                  (ee)   whether Defendants made negligent, reckless, and false misrepresentations

 4 and omissions;

 5                  (ff)   whether Plaintiff and the members of the Class are entitled to actual,

 6 statutory, and punitive damages; and

 7                  (gg)   whether Plaintiff and members of the Class are entitled to declaratory and

 8 injunctive relief.

 9          111.    Defendants engaged in a common course of conduct giving rise to the legal rights

10 sought to be enforced by Plaintiff individually and on behalf of the other members of the Class.

11 Identical statutory violations and business practices and harms are involved.               Individual

12 questions, if any, are not prevalent in comparison to the numerous common questions that

13 dominate this action.

14          112.    Plaintiff's claims are typical of those of the members of the Class in that they are

15 based on the same underlying facts, events, and circumstances relating to Defendants' conduct.

16          113.    Plaintiff will fairly and adequately represent and protect the interests of the Class,

17 has no interests incompatible with the interests of the Class, and has retained counsel competent

18 and experienced in class action, consumer protection, and false advertising litigation.

19          114.    Class treatment is superior to other options for resolution of the controversy

20 because the relief sought for each member of the Class is small such that, absent representative

21 litigation, it would be infeasible for members of the Class to redress the wrongs done to them.

22          115.    Questions of law and fact common to the Class predominate over any questions

23 affecting only individual members of the Class.

24          116.    As a result of the foregoing, class treatment is appropriate.

25                                               COUNT I

26            (Negligent Misrepresentation Against Defendants on Behalf of the Class)

27          117.    Plaintiff incorporates by reference and realleges each and every allegation

28 contained above, as though fully set forth herein.
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 1          118.    Plaintiff reasonably placed his trust and reliance in the representations made on

 2 the Contaminated Dog Foods' labels, packaging, and advertising on Amazon.com and that the

 3 Contaminated Dog Foods did not contain Heavy Metals, BPA, pesticide, plasticizers, or

 4 acrylamide.

 5          119.    Because of the relationship between the parties, the Defendants owed a duty to

 6 use reasonable care to impart correct and reliable disclosures concerning the presence of Heavy

 7 Metals, BPA, pesticides, plasticizers, or acrylamide in the Contaminated Dog Foods or, based

 8 upon their superior knowledge, having spoken, to say enough to not be misleading.

 9          120.    Defendants breached their duty to Plaintiff and the Class by providing false,

10 misleading, and/or deceptive information regarding the nature of the Contaminated Dog Foods.

11          121.    Plaintiff and the Class reasonably and justifiably relied upon the information

12 supplied to them by the Defendants on the Contaminated Dog Foods' labels, packaging, and

13 advertising on Amazon.com. A reasonable consumer would have relied on Defendants' own

14 warranties, statements, representations, advertising, packaging, labeling, and other marketing as

15 to the quality, make-up, and included ingredients of the Contaminated Dog Foods.

16          122.    As a result of the misrepresentations on the Contaminated Dog Foods' labels,

17 packaging, and advertising on Amazon.com, Plaintiff and the Class purchased the Contaminated

18 Dog Foods at a premium.

19          123.    Defendants failed to use reasonable care in their communications and

20 representations to Plaintiff and the Class, especially in light of their knowledge of the risks and

21 importance of considering ingredients to consumers when purchasing the Contaminated Dog

22 Foods.

23          124.    By virtue of Defendants' negligent misrepresentations, Plaintiff and the Class

24 have been damaged in an amount to be proven at trial or alternatively, seek rescission and

25 disgorgement under this Count.

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 1                                              COUNT II

 2       (Violations of the California Consumer Legal Remedies Act, California Civil Code
                  Sections 1750, Et Seq., Against Defendants on Behalf of the Class)
 3

 4          125.    Plaintiff incorporates by reference and realleges each and every allegation

 5 contained above, as though fully set forth herein.

 6          126.    Plaintiff and each proposed Class member is a "consumer," as that term is

 7 defined in California Civil Code section 1761(d).

 8          127.    The Contaminated Dog Foods are "goods," as that term is defined in California

 9 Civil Code section 1761(a).

10          128.    Defendants are each a "person" as that term is defined in California Civil Code

11 section 1761(c).

12          129.    Plaintiff and each proposed Class member's purchase of Defendants' Products

13 constituted a "transaction," as that term is defined in California Civil Code section 1761(e).

14          130.    Defendants' conduct alleged herein violates the following provisions of

15 California's Consumer Legal Remedies Act (the "CLRA"):

16                  (a)    California Civil Code section 1770(a)(5), by negligently, recklessly,

17 and/or intentionally representing on the Contaminated Dog Foods' labels, packaging, and

18 advertising on Amazon.com that the Contaminated Dog Foods are healthy and safe for

19 consumption and by failing to make any mention of Heavy Metals, pesticides, plasticizers, or

20 acrylamide in the Contaminated Dog Foods;

21                  (b)    California Civil Code section 1770(a)(5), by negligently, recklessly,

22 and/or intentionally representing on the Contaminated Dog Foods' labels, packaging, and

23 advertising on Amazon.com that the Contaminated Dog Foods are natural, pure, and safe and by

24 failing to make any mention of BPA and/or plasticizers in the Contaminated Dog Foods;

25                  (c)    California Civil Code section 1770(a)(7), by negligently, recklessly,

26 and/or intentionally representing on the Contaminated Dog Foods' labels, packaging, and

27 advertising on Amazon.com that the Contaminated Dog Foods were of a particular standard,

28 quality, or grade, when they were of another;
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 1                  (d)     California Civil Code section 1770(a)(9), by negligently, recklessly,

 2 and/or intentionally advertising on the Contaminated Dog Foods' labels, packaging, and

 3 advertising on Amazon.com with intent not to sell them as advertised; and

 4                  (e)     California Civil Code section 1770(a)(16), by representing that the

 5 Contaminated Dog Foods have been supplied in accordance with previous representations when

 6 they have not.

 7          131.    As a direct and proximate result of these violations, Plaintiff and the Class have

 8 been harmed, and that harm will continue unless Defendants are enjoined from using the

 9 misleading Marketing described herein in any manner in connection with the advertising and sale

10 of the Contaminated Dog Foods.

11          132.    On September 18, 2018, counsel for Plaintiff and the Class sent Defendants

12 written notice (via U.S. certified mail, return receipt requested) that its conduct is in violation of

13 the CLRA concerning the BPA, pesticide, acrylamide, and Heavy Metals omissions.

14          133.    Defendants failed to provide appropriate relief for its violations of CLRA

15 sections 1770(a)(5), (7), (9), and (16) within thirty days of receipt of Plaintiff's September 18,

16 2018, notification.     In accordance with CLRA section 1782(b), Plaintiff and the Class are

17 entitled, under CLRA section 1780, to recover and obtain the following relief for Defendants'

18 violations of CLRA sections 1770(a)(5), (7), (9), and (16):

19                  (a)     actual damages under CLRA section 1780(a)(1);

20                  (b)     restitution of property under CLRA section 1780(a)(3);

21                  (c)     punitive damages under CLRA section 1780(a)(4); and

22                  (d)     any other relief the Court deems proper under CLRA section 1780(a)(5).

23          134.    Plaintiff seeks an award of attorneys' fees pursuant to, inter alia, California Civil

24 Code section 1780(e) and California Code of Civil Procedure section 1021.5.

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 1                                              COUNT III

 2            (Violations of the California False Advertising Law, California Business
       & Professions Code Sections 17500, Et Seq., Against Defendants on Behalf of the Class)
 3

 4          135.    Plaintiff incorporates by reference and realleges each and every allegation
 5 contained above, as though fully set forth herein.

 6          136.    California's False Advertising Law prohibits any statement in connection with the
 7 sale of goods "which is untrue or misleading." Cal. Bus. & Prof. Code §17500.

 8          137.    As set forth herein, Defendants' Claims on the Contaminated Dog Foods' labels,
 9 packaging, and advertising on Amazon.com that the Contaminated Dog Foods are healthy and

10 safe for consumption are literally false and likely to deceive the public. Likewise, Defendants'

11 statements and images on labels, packaging, and advertising on Amazon.com depict that the

12 Contaminated Dog Foods are natural, pure, and safe are false and likely to deceive the public.

13          138.    Defendants' Claims on the Contaminated Dog Foods' labels, packaging, and
14 advertising on Amazon.com that the Contaminated Dog Foods are healthy and safe for

15 consumption are untrue or misleading, as is failing to make any mention of Heavy Metals,

16 plasticizers, or acrylamide in the Contaminated Dog Foods. Likewise, Defendants' statements

17 that, among other representations, the Contaminated Dog Foods are natural, pure, and safe are

18 untrue or misleading, as failing to disclose the presence of BPA, plasticizers, or pesticides in the

19 dog food.

20          139.    Defendants knew, or reasonably should have known, that all these Claims were
21 untrue or misleading.

22          140.    Defendants' conduct is ongoing and continuing, such that prospective injunctive
23 relief is necessary, especially given Plaintiff's desire to purchase the Products in the future if he

24 can be assured that the Contaminated Dog Foods are, as advertised, healthy and safe for

25 consumption and do not contain Heavy Metals, BPA, pesticides, plasticizers, and/or acrylamide.

26          141.    Plaintiff and members of the Class are entitled to injunctive and equitable relief,
27 and restitution in the amount they spent on the Contaminated Dog Foods.

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 1                                               COUNT IV

 2               (Violations of the California Unfair Competition Law, California Business
                    & Professions Code Sections 17200, Et Seq., Against Defendants on
 3
                                             Behalf of the Class)
 4

 5          142.       Plaintiff incorporates by reference and realleges each and every allegation

 6 contained above, as though fully set forth herein.

 7          143.       The Unfair Competition Law prohibits any "unlawful, unfair or fraudulent

 8 business act or practice." Cal. Bus. & Prof. Code §17200.

 9          I.         Fraudulent
10          144.       Defendants' statements on the Contaminated Dog Foods' labels, packaging, and

11 advertising on Amazon.com that the Contaminated Dog Foods are pure, natural, and healthy, and

12 safe for consumption are literally false and likely to deceive the public, as is Defendants' failing

13 to make any mention of Heavy Metals, pesticides, plasticizers, acrylamide, and/or BPA in the

14 Contaminated Dog Foods.

15          II.        Unlawful
16          145.       As alleged herein, Defendants have advertised the Contaminated Dog Foods with

17 false or misleading Claims, such that Defendants' actions as alleged herein violate at least the

18 following laws:

19                 •   The CLRA, California Business & Professions Code sections 1750, et seq.; and

20                 •   The False Advertising Law, California Business & Professions Code sections

21 17500, et seq.

22          III.       Unfair
23          146.       Defendants' conduct with respect to the labeling, packaging, and advertising on

24 Amazon.com and sale of the Contaminated Dog Foods is unfair because Defendants' conduct

25 was immoral, unethical, unscrupulous, or substantially injurious to consumers and the utility of

26 their conduct, if any, does not outweigh the gravity of the harm to their victims.

27          147.       Defendants' conduct with respect to the labeling, packaging, and advertising on

28 Amazon.com and sale of the Contaminated Dog Foods is also unfair because it violates public
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 1 policy as declared by specific constitutional, statutory, or regulatory provisions, including, but

 2 not limited to, the False Advertising Law and the CLRA.

 3          148.    Defendants' conduct with respect to the labeling, packaging, and advertising on

 4 Amazon.com and sale of the Contaminated Dog Foods is also unfair because the consumer

 5 injury is substantial, not outweighed by benefits to consumers or competition, and not one

 6 consumers, themselves, can reasonably avoid.

 7          149.    In accordance with California Business & Professions Code section 17203,

 8 Plaintiff seeks an order enjoining Defendants from continuing to conduct business through

 9 fraudulent or unlawful acts and practices and to commence a corrective advertising campaign.

10 Defendants' conduct is ongoing and continuing, such that prospective injunctive relief is

11 necessary.

12          150.    On behalf of himself and the Class, Plaintiff also seeks an order for the restitution

13 of all monies from the sale the Contaminated Dog Foods, which were unjustly acquired through

14 acts of fraudulent, unfair, or unlawful competition.

15                                              COUNT V

16            (Breach of Express Warranty Against Defendants on Behalf of the Class)

17          151.    Plaintiff incorporates by reference and realleges each and every allegation

18 contained above, as though fully set forth herein.

19          152.    As set forth herein, Defendants made express representations to Plaintiff and the

20 Class that the Contaminated Dog Foods are as "nature intended" and formulated "based on your

21 pet's ancestral diet."

22          153.    Defendants also made express representations to Plaintiff and the Class that the

23 Contaminated Dog Foods were pure, healthy, and safe for consumption.

24          154.    Defendants likewise made express representations to Plaintiff and the Class that

25 the Contaminated Dog Foods are natural, pure, and safe.

26          155.    These promises, and all others on the labeling, packaging, and advertising on

27 Amazon.com became part of the basis of the bargain between the parties and thus constituted

28 express warranties.
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 1          156.    There was a sale of goods from Defendants to Plaintiff and the members of the

 2 Class.

 3          157.    On the basis of these express warranties, Defendants sold the Contaminated Dog

 4 Foods to Plaintiff and the Class.

 5          158.    Defendants knowingly breached the express warranties by including Heavy

 6 Metals, BPA, pesticides, plasticizers, and/or acrylamide in the Contaminated Dog Foods.

 7          159.    Defendants were on notice of this breach as they were aware of the included

 8 Heavy Metals, BPA, pesticides, plasticizers, acrylamide, and/or other contaminates in the

 9 Contaminated Dog Foods, and based on the public investigation by the Clean Label Project that

10 showed the Products as unhealthy.

11          160.    Privity exists because Defendants expressly warranted to Plaintiff and the Class

12 that the Contaminated Dog Foods were healthy, safe, natural, and/or pure.

13          161.    Plaintiff and the Class reasonably relied on the express warranties by Defendants.

14          162.    As a result of Defendants' breaches of their express warranties, Plaintiff and the

15 Class sustained damages as they paid money for the Contaminated Dog Foods that were not what

16 Defendants represented.

17          163.    Plaintiff, on behalf of himself and the Class, seeks actual damages for

18 Defendants' breach of express warranty.

19                                      PRAYER FOR RELIEF

20          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, prays

21 for judgment against the Defendants as to each and every Count, including:

22          A.      An order declaring this action to be a proper class action, appointing Plaintiff and

23 his counsel to represent the Class, and requiring Defendants to bear the costs of class notice;

24          B.      An order enjoining Defendants from selling the Contaminated Dog Foods until

25 the higher and/or unsafe Heavy Metals, pesticides, acrylamide, and/or BPA are removed;

26          C.      An order enjoining Defendants from selling, marketing, or advertising the

27 Contaminated Dog Foods in any manner suggesting or implying that they are healthy, natural,

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 1 and safe for consumption, including enjoining any communications directly to class members

 2 concerning the merits of this action;

 3          D.     An order requiring Defendants to engage in a corrective advertising campaign and

 4 engage in any further necessary affirmative injunctive relief, such as recalling existing Products;

 5          E.     An order awarding declaratory relief, and any further retrospective or prospective

 6 injunctive relief permitted by law or equity, including enjoining Defendants from continuing the

 7 unlawful practices alleged herein, and injunctive relief to remedy Defendants' past conduct;

 8          F.     An order requiring Defendants to pay restitution to restore all funds acquired by

 9 means of any act or practice declared by this Court to be an unlawful, unfair, or fraudulent

10 business act or practice, untrue or misleading advertising, or a violation of the Unfair

11 Competition Law, False Advertising Law, or CLRA, plus pre- and post-judgment interest

12 thereon;

13          G.     An order requiring Defendants to disgorge or return all monies, revenues, and

14 profits obtained by means of any wrongful or unlawful act or practice;

15          H.     An order requiring Defendants to pay all actual and statutory damages permitted

16 under the Count alleged herein, including under CLRA section 1780(a)(1), in an amount to be

17 determined by this Court but at least $5,000,000;

18          I.     An order requiring Defendants to pay punitive damages on any cause of action so

19 allowable, including under CLRA section 1780(a)(4);

20          J.     An order awarding attorneys' fees and costs to Plaintiff, and the Class; and

21          K.     An order providing for all other such equitable relief as may be just and proper,

22 including under CLRA section 1780(a)(5).

23                                           JURY DEMAND

24          Plaintiff hereby demands a trial by jury on all issues so triable.

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 2 Dated: April 9, 2018                  LOCKRIDGE GRINDAL NAUEN P.L.L.P.
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 4

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                                       CERTIFICATE OF SERVICE
 1

 2           I hereby certify that on April 9, 2019, I authorized the electronic filing of the foregoing

 3 THIRD AMENDED CLASS ACTION COMPLAINT with the Clerk of the Court using the

 4 CM/ECF system, which will send notification of such filing to the e-mail addresses denoted on

 5
      the Electronic Mail Notice List for this action.
 6

 7
                                                    s/ Rebecca A. Peterson
 8                                                  Rebecca A. Peterson
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